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EXHIBIT A

 

 
 

 

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CAUSE NO. 348-251999-11

TRENCH TECH INTERNATIONAL, INC., IN THE DISTRICT COURT OF

Plaintiff,
Vz.

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§

HAROLD RANDOLPH LENNARD, JR., §
RONALD LYNN PERDUE dib/a § | TARRANT COUNTY, TEXAS

CRP ENTERPRISES, CATHY LEA PERDUE, = §

C.R.P. MACHINE & WELDING, INC., and §

CONEX EQUIPMENT MANUFACTURING, = §

LLC, §

§

§

 

Defendants, 348th JUDICIAL DISTRICT

AGREED PERMANENT INJUNCTION

This Agreed Permanent Injunction is entered into by and between Plaintiff, TRENCH
TECH INTERNATIONAL, INC, (“Trench Tech”), and Defendants, HAROLD RANDOLPH
LENNARD, JR., RONALD LYNN PERDUE d/b/a CRP ENTERPRISES, CATHY LEA
PERDUE, C.R.P. MACHINE & WELDING, INC., and CONEX EQUIPMENT
MANUFACTURING, LLC, (herein collectively “Defendants”). Based on the Verified
Original Petition, Application for a Temporary Restraining Order, Application for Temporary
and Permanent Injunctive Relief of Trench Tech International, Inc. (“Original Petition”) filed

in this matter and by agreement of the parties as set out in Compromise and Settlement

 

Agreement pursuant to Mediation, the court finds:

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The parties have agreed to the entry of this Agreed Permanent Injunction.

2. The parties have agreed and the court finds that the relief herein stated is
reasonable and complies with Texas law.

3. Immediate and irreparable harm will result to Plaintiff unless this Agreed
Permanent Injunction is entered,

4. Defendants acknowledge and agree that the Agreed Permanent Injunction
complies with Texas Law in all respects. Specifically, Defendants acknowledge
that the Agreed Permanent Injunction is reasonable and complies with Section
15.50 et seqof the Texas Business and Commerce Code. Further, the Agreed
Permanent Injunction complies with TRCP 683.

5. On or about August 16, 2012, the Parties conducted mediation of the disputes
that have arisen in this matter, and the Parties entered into a Compromise ot
Settlement Agreement (“Agreement”), The Parties have agreed that this Agreed 7 |

 

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Agreed Permanent Injunction COURT'S MINUTES Page I of S |
TRANSACTION # 41/ | |
 

 

 

 

 

Permanent Injunction shall be entered, and the Court having considered the
Agreement of the Parties finds and concludes that the Parties are entitled to the
relief herein given.

IT 18, THEREFORE, ORDERED, ADJUDGED, AND DECREED that Defendants,

abide by the following:

1. Starting upon entry of this Agreed Permanent Injunction and continuing for a period
of five (5) years thereafter:

a. Defendants shall be enjoined from directly or indirectly marketing,
manufacturing, or selling parts that are unique to and specifically for machines
that have been manufactured by Trench Tech International, Inc.:

b. Defendants are enjoined from directly or indirectly, approaching, soliciting,
and/or contacting vendors for the purpose of manufacturing parts that are
unique to or specifically for machines that have been manufactured by Trench
Tech International, Inc.;

c. Defendants shall return to Trench Tech International, Inc., destroy, and/or
delete any and all of Trench Tech International, Inc.’s confidential
information, trade secrets, and proprietary information, including but not
limited to Trench Tech International, Inc.’s designs and specifications;

d. Defendants shall not directly or indirectly disclose to any third party any of
Trench Tech International, Inc.’s confidential information, trade secrets,
and/or proprietary information, including but not limited to Trench Tech
International, Inc.’s designs and specifications; and

e. The parties to this Injunction have agreed that parts labeled by Trench Tech
International, Inc. as “M” parts are unique to and specifically for machines
that have been manufactured by Trench Tech International, Inc. unless the
parts are listed on Exhibit “A” that is attached hereto and incorporated herein
as if set forth at length. Notwithstanding anything contained herein
Defendants can market and manufacture the parts listed on Exhibit “A” and
such parts are deemed to not be unique to and specifically for machines that
have been manufactured by Trench Tech International, Inc.

2. The injunction shall last for a period of five (5) years from the date of entry of this
Agreed Permanent Injunction.

3. The injunction and the Agreement executed by the Parties shall dispose of all issues
between the Parties.

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Agreed Permanent Injunction Page 2 of 5

 

 

 

 
 

 

 

 

 

 

 

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it is FURTHER ORDERED that the parties hereto take nothing by this suit and all costs

of court are taxed against the party incurring same. All other relief not expressly granted in this

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judgment is denied.
SIGNED the 334 day of (aaa 2013.
JUDGE PRESIDING
AGREED TO:
Plaintiff:

TRENCH TECH INTERNATIONAL, INC.

Qt 1ls— Signed this the 2& day of January, 2013.
J Gilbert, Vice-President

Defendants:

rétrdltiiphe fe day of January, 2013.

  

Signed this the /Q day of January, 2013.

Ronald Perdue

Ms. Purdue:

oth lea lancdse Signed this the /@ day of January, 2013. -
’ Cathy Eda Perdue

CRP:

C.R.P. MACHINE & WELDING, INC.

By: test, lade Signed this the /() day of J anuary, 2013.
, President

CONEX:

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Agreed Permanent Injunction Page 3 of S

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CONEX EQUIPMENT MANUFACTURING, LLC

 

 

 

By: hc Signed this the_/O day of January, 2013.
, President

AGREED AS TO FORM ONLY:

THE FRANK LAW FIRM, PLLC

By: L> 2a be __f tin By: kde
Wayne Paul Frank Dave Horger, Jr., 4 Oo
State Bar No. 00784078 State Bar No. 09995000 |
Michael B. Jaskowak 9285 Huntington Square, Ste. 105
State Bar No. 24006446 North Richland Hills, Texas 76180 |
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Phone: (817) 949-2161 ce ATTORNEY FOR DEFENDANTS |
Fax: (817) 416-6292 .
ATTORNEYS FOR PLAINTIFF

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COPY MAILED TO EACH ATTORNEY

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Agreed Perthanent Injunction Page 4 of 5

 

 
 

 

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EXHIBIT “A”

2500 Parts

2510015 Shaft, Tailwheel
2510016 Seal Cap, Tailwheel
2510017 End Cap, Tailwheel
2520014 Counter Shaft
2520015 Counter Shaft Sprocket
2520020 Bearing Spacer
2520021 Bearing Spacer
2520022 Sprocket Retainer
2520024 Bearing Housing
2520025 Seal Cap, Counter Shaft
2520045 Digging Sprocket
2520028 Differential Shaft
2520039 Differential Shaft
Cutter Plate...

2300 Parts

2320025 Counter Shaft
2320048 Digging Sprocket
2510016 Seal Cap, Tailwheel
2510017 End Cap, Tailwheel
Cutter Plate

2000 Parts
2510016 Seal Cap, Tailwheel
2510017 End Cap, Tailwheel

2320048 Digging Sprocket
Cutter Plate

f greed Permanent Injunction

 

"Page 5 of 5 |

 

 

 

 
